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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 16-20417-Civ-COOKE/TORRES

   PETERBROOKE FRANCHISING OF
   AMERICA, LLC,

          Plaintiff/Counter-Defendant,
   vs.

   MIAMI CHOCOLATES, LLC, et al.,

         Defendants/Counter-Plaintiffs.
   _____________________________________/
                     ORDER RESETTING EVIDENTIARY HEARING
                      AND SETTING PRE-HEARING DEADLINES

          The Court advises the parties the evidentiary hearing set for December 15, 2020 has
   been reset to begin at 10:30 a.m. on the same date. Additionally, the Court hereby sets the
   following pre-hearing deadlines.
          1. Witness Lists. On or before December 14, 2020, the parties must jointly file a
             witness list containing the names and addresses of all witnesses intended to be
             called at the hearing. Only those witnesses listed will be permitted to testify unless
             good cause is shown and there is no prejudice to the opposing party. The witness
             list should include estimated times for testimony.
          2. Exhibit Lists. On or before December 14, 2020, the parties must also file an
             exhibit list of all exhibits intended to be used at the hearing. All exhibits must be
             pre-marked. The Plaintiff’s exhibits must be marked numerically preceded by the
             letter “P.” Defendants’ exhibits must be marked numerically preceded by the letter
             “D.” For example, Plaintiff’s exhibits will be marked P-1, P-2, P-3, etc. The parties
             must submit the exhibit list on Form AO 187, which is available from the Clerk’s
             office. Only those exhibits listed will be permitted to be used at the hearing unless
             good cause is shown and there is no prejudice to the opposing party.




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           3. Non-Compliance. Non-compliance with any provision of this Order may subject
              the offending party to sanctions. It is the duty of all parties and counsel to enforce
              the timetable set forth herein to ensure an expeditious resolution of this matter.
           DONE and ORDERED in Chambers, in Miami, Florida, this 11th day of December
   2020.




   Copies furnished to:
   Jonathan Goodman, U.S. Magistrate Judge
   Counsel of Record




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